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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

CYNTISHA STEWART, TERRY BROWN,
EDUARDO CANTIZZANO, and
LISA HILL-GREEN, on behalf of themselves
and all individuals similarly situated,

               Plaintiffs,

   v.                                                        Civil Action No. 3:20-cv-00903-JAG

LEXISNEXIS RISK DATA RETRIEVAL SERVICES, LLC,
aka LexisNexis Risk Data Management Inc.,

and

LEXIS NEXIS RISK SOLUTIONS, INC.,

               Defendants.

                               CLASS ACTION COMPLAINT

        COME NOW the Plaintiffs, CYNTISHA STEWART, TERRY BROWN, EDUARDO

CANTIZZANO, and LISA HILL-GREEN (“Plaintiffs”), individually and on behalf of a class of

similarly situated consumers, by Counsel, and as for their Complaint against Defendants, they

allege as follows:

                               PRELIMINARY STATEMENT

        1.     This is an action for the Defendants’ violations of multiple sections of the Fair

Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681a–x.

        2.     For years, the Big Three consumer reporting agencies (“CRAs”), Equifax,

Experian, and Trans Union, reported public-record information about consumers that was widely

known to be fraught with preventable inaccuracies. Significant FCRA litigation resulted, with

those CRAs settling class-action cases in this District and Division with remedies including,
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among other things, their agreement to cease reporting such records for lengthy periods. Thomas

v. Equifax Info. Servs., LLC, No. 3:18-cv-00684-MHL (E.D. Va.); Clark v. Experian, No. 3:16-

cv-00032-MHL (E.D. Va.); Clark v. Trans Union, LLC, No. 3:15-cv-00391-MHL (E.D. Va.).

       3.      This case is a continuation of these efforts, as Defendants here remain responsible

for the harm caused before and now have designed new products to circumvent these earlier

settlements by Equifax, Trans Union, and Experian.

       4.      With the reporting void in the market after the public-record settlements, others

like the LexisNexis Defendants sought to fill it by taking up the reporting of public records. But,

since many of the CRAs’ errors in reporting public records occurred because they purchased

those records from LexisNexis companies in the first place, this data is just as error-prone as it

was prior to the public-records litigation against the Big-Three CRAs.

       5.      This case presents violations of the FCRA related to the inaccurate reporting of

public records, reporting of public records that are too old to be included in reports, the failure to

adequately investigate disputes of inaccuracies, the failure to tell consumers who purchased their

reports from LexisNexis, and the failure to provide consumers with all the information in their

files when consumers requested it.

       6.      Plaintiffs bring their claims on behalf of multiple nationwide classes described

below, asserting Defendants’ willfully violated the FCRA as to each claim and putative class.

Defendants’ processes and procedures relating to the violations Plaintiffs press are uniformly

applied and entirely by design. These are textbook claims for pursuing as a class, where

classwide proof of Defendants’ conduct will drive the litigation.

                                         JURISDICTION

       7.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § 1681(p).




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        8.      Venue is proper in this District and Division because a substantial portion of the

events and omissions giving rise to the claims occurred in this District and Division. All of the

Plaintiffs reside in this District and three reside in this Division, and their injuries occurred here.

        9.      Critical third-party witnesses are also located here in Richmond, including the

Executive Secretary of the Supreme Court of Virginia, which is the custodian of records for all

general district courts in the Commonwealth, the Virginia Department of Motor Vehicles, which

sells information about Virginia driving records to the Defendants, and the many other witnesses

who were necessary in litigation of the Big-3 Public Records cases.

                                              PARTIES

        10.     Plaintiff Terry Brown is a natural person, a “consumer” as defined by 15 U.S.C. §

1681a(c), and a Virginia resident.

        11.     Plaintiff Eduardo Cantizzano is a natural person, a “consumer” as defined by 15

U.S.C. § 1681a(c), and a Virginia resident.

        12.     Plaintiff Lisa Hill-Green is a natural person, a “consumer” as defined by 15

U.S.C. § 1681a(c), and a Virginia resident.

        13.     Plaintiff Cyntisha Stewart is a natural person, a “consumer” as defined by 15

U.S.C. § 1681a(c), and a Virginia resident.

        14.     Defendant LexisNexis Risk Data Retrieval Services, LLC (“LN Risk Data”) is a

“consumer reporting agency” (“CRA”) as defined by 15 U.S.C. § 1681a(f) that regularly

conducts business in the Commonwealth of Virginia. LN Data is also a “reseller,” as defined by

§ 1681a(u) of the FCRA, that assembles and merges information contained in the databases of

other consumer reporting agencies and resells the data to third parties.




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       15.    Defendant LexisNexis Risk Solutions, Inc. (“LN Risk Solutions”) is a “consumer

reporting agency” (“CRA”) as defined by 15 U.S.C. § 1681a(f) that regularly conducts business

in the Commonwealth of Virginia.

       16.    Defendants regularly engaged in the business of assembling, evaluating, and

disbursing information concerning consumers in order to furnish “consumer reports” to third

parties as defined by 15 U.S.C. § 1681a(d).

                                              FACTS

                    Fair Credit Reporting Act Requirements are Rigorous

       17.    Prior to the enactment of the FCRA, inaccurate and misleading information was

identified as “the most serious problem in the credit reporting industry.” 115 Cong. Rec. 2411

(Jan. 31, 1969). With this problem in mind, Congress enacted the FCRA in 1970 to ensure the

“confidentiality, accuracy, relevancy, and proper utilization” of credit reports. 15 U.S.C. §

1681(b).

       18.    To accomplish Congress’ goals, the FCRA contains a variety of requirements to

protect consumers, including §§ 1681e, 1681c, and 1681g(a), which are three cornerstone

provisions of the FCRA.

       19.    Whenever a consumer reporting agency prepares a consumer report, § 1681e(b)

requires the CRA to follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates. 15 U.S.C. § 1681e(b). This

section imposes a high, and often disregarded, standard on consumer reporting agencies. See,

e.g., Burke v. Experian Info. Sols., Inc., No. 1:10-cv-1064(AJT/TRJ)., 2011 WL 1085874, at *4

(E.D. Va. Mar. 18, 2011) (breaking down the requirements of § 1681e(b), and explaining that

“‘assure’ means ‘to make sure or certain: put beyond all doubt,’” “‘[m]aximum’ means the




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‘greatest in quantity or highest degree attainable[,]’ and ‘possible’ means something ‘falling

within the bounds of what may be done, occur or be conceived.’” (quoting Webster’s Third New

International Dictionary 133, 1396, 1771 (1993)).

       20.    FCRA § 1681c “generally provides time limits beyond which CRAs cannot

include information in consumer reports.” Fed. Tr. Comm’n, 40 YEARS OF EXPERIENCE WITH THE

FAIR CREDIT REPORTING ACT, July 2011, at 55.1 “[T]o protect consumers from having their

credit forever impaired by aging debts, CRAs are precluded from reporting . . . ‘adverse item[s]

of information,’ aside from criminal convictions” longer than “seven years after the adverse

event.” § 1681c(a)(5). When the seven-year threshold for these items is reached, CRAs may no

longer lawfully report that data: in industry parlance, it has “aged off” the consumer’s credit

report. Seamans v. Temple Univ., 744 F.3d 853, 860 (3d Cir. 2014).

       21.    Pertinent to this lawsuit, because traffic infractions are not criminal convictions,

they cannot be reported more than seven years after occurrence.

       22.    To further strengthen the protections of § 1681c, the FCRA also requires

consumer reporting agencies to “maintain reasonable procedures designed to avoid violations” of

§ 1681c. 15 U.S.C. § 1681e(a).

       23.    In enacting the FCRA, and in particular its disclosure rights, Congress “hoped to

address a number of related problems, including ‘the inability at times of the consumer to know

he is being damaged by an adverse credit report,’ the lack of ‘access to the information in [his]

file,’ [and] the ‘difficulty in correcting inaccurate information.’” Cortez v. Trans Union, LLC,




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 Available at https://www.ftc.gov/sites/default/files/documents/reports/40-years-experience-fair-
credit-reporting-act-ftc-staff-report-summary-interpretations/110720fcrareport.pdf.




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617 F.3d 688, 706 (3d Cir. 2010) (citing TRW Inc. v. Andrews, 534 U.S. 19, 24, 122 S. Ct. 441,

151 L. Ed. 2d 339 (2001).

       24.       In furtherance of these ends, “the FCRA allows the consumer to check the

accuracy of the information possessed by a consumer reporting agency by requiring that ‘[e]very

consumer reporting agency shall, upon request . . . clearly and accurately disclose to the

consumer [a]ll information in the consumer’s file at the time of the request.’” Gillespie v.

Equifax Info. Servs., LLC, 484 F.3d 938, 940–41 (7th Cir. 2007) (citing 15 U.S.C. §

1681g(a)(1)).

       25.       More specifically, § 1681g(a)(2) requires a CRA on request to disclose the

“sources of the information” of the consumer’s credit reports. “The FCRA’s disclosure

provisions, including § 1681g(a), promote consumer oversight of compliance with the FCRA by

informing consumers of the source of the reported information, thereby advancing the broader

purposes of ‘fair and accurate credit reporting.’” See Gillespie, 484 F.3d at 941 (stating that the

primary purpose of disclosure requirement is to ‘allow consumers to identify inaccurate

information in their credit files and correct this information’); Hauser v. Equifax, Inc., 602 F.2d

811, 817 (8th Cir. 1979) (‘The purpose of the Act’s disclosure requirement [in 15 U.S.C. §

1681g(a)] is to provide the consumer with an opportunity to dispute the accuracy of information

in his file.’).” Clark v. Trans Union, LLC, No. 3:15-cv-391, 2016 WL 7197391, at *8 (E.D. Va.

Dec. 9, 2016).

       26.       Once consumers learn information is inaccurate and dispute that information with

the CRA, the FCRA imposes upon the CRA the requirement that it investigate the disputed item.

15 U.S.C. § 1681i. The investigation must be reasonable, with the CRA having to consider all




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information the consumer provides along with the dispute. The CRA may not get by with simply

reviewing the same information it already reported and confirming that nothing has changed.

                                        Defendants’ Business

          27.    Defendant LN Risk Solutions markets itself to a diverse group of potential

customers, including those in the collections and recovery industry, financial services,

government, and law enforcement, to name a few.2

          28.    One aspect of LN Risk Solutions’ business prominently touted on its website is its

matching technology, where it purports to “uses a proprietary linking technology in combination

with our own unique identifier, LexID®, to resolve, match and manage information.”3

          29.    LN Risk Solutions has operated in the consumer reporting business for decades,

and now claims to “help tens of thousands of customers and hundreds of thousands of individual

users be prepared to manage change and meet their growing risk management challenges.”4

          30.    Through that business model, LN Risk Solutions markets dozens of reports and

searches to what is claims are hundreds of thousands of customers worldwide.5

          31.    LN Risk Data has a much-less prominent internet presence, as it does not appear

to operate a website at all.

          32.    LN Risk Data works together with LN Risk Solutions in providing consumer

reports to LN Data’s customers by intaking information that goes into those reports, warehousing

it, and providing that data to LN Risk Solutions for sale to LN Risk Solutions’ customers.


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    https://risk.lexisnexis.com/#gnav=header;
3
    https://risk.lexisnexis.com/our-technology#gnav=header;Our%20Technology
4
    https://risk.lexisnexis.com/our-technology.
5
    Id.




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       33.      Separately, LN Risk Data sells information to non-LexisNexis entities CRA such

as RP On-Site. For example, as pertinent here, LN Risk Data sold RP On-Site information that

RP On-Site used in a report that it provided to a potential landlord of Plaintiff Brown.

       34.      Because LN Risk Data provided that information to RP On-Site for use in an

FCRA-governed “consumer report,” LN Risk Data qualifies as a CRA under the FCRA.

       35.      LN Risk Data corporate parent is LexisNexis Risk Solutions Inc. (“LNRS”).

LNRS is directly owned by LexisNexis Risk Assets Inc., which is owned by LexisNexis Risk

Holdings Inc.

       36.      Defendants operate as a single, unified CRA because of the way in which they

and their data-sharing processes are integrated. As the FCRA sets forth, a CRA is:

       [A]ny person6 which, for monetary fees, dues, or on a cooperative nonprofit
       basis, regularly engages in whole or in part in the practice of assembling or
       evaluating consumer credit information or other information on consumers for
       the purpose of furnishing consumer reports to third parties, and which uses any
       means or facility of interstate commerce for the purpose of preparing or
       furnishing consumer reports.

15 U.S.C. § 1681a(f) (emphasis added).

       37.      As demonstrated above, Defendants encompass the definition of a credit reporting

agency because (1) in exchange for compensation; (2) Defendants regularly assemble

information on consumers; (3) for the purpose of furnishing consumer reports; and (4) by means

of interstate commerce.




6
  “Person” is defined as “any individual, partnership, corporation, trust, estate, cooperative,
association, government or governmental subdivision or agency, or other entity.” 15 U.S.C. §
1681a(b).




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          38.     As to the first element, there is no dispute that Defendants receive compensation

from their customers. Someone paying money to another in exchange for a product or service is

the definition of “customer.”

          39.     Second, Defendants obtain and market, among other things, credit-related

information so that its customers that may “[e]valuate credit invisible consumers with alternative

credit data to grow [their] business without growing risk.”7

          40.     Defendants also utilize public records to court law-enforcement customers,

explaining “LexisNexis® Risk Solutions Law Enforcement solutions leverage public records

combined with cross-jurisdictional agency data and cutting-edge analytics to prevent and

investigate crimes.”8

          41.     Defendants collect and then parse that information, actively curating the records

to match – in Defendants’ own view – the request information provided by the customer.

Defendants’ customers do not merely search for specific records, but instead ask a general

question: “Are there any criminal, credit, or public records anywhere that match this consumer,

with this personal identifying information?” Because that information often does not match or

does not provide sufficient information to match records, Defendants affirmatively sort,

manipulate and infer information to adapt data results to the requests received.

          42.     Third, Defendants obtain and assemble the information for the purpose of

providing it to third parties, who then obtain and use the information from Defendants in order to

determine a consumer’s eligibility for, among other things, credit, insurance, or employment.




7
    https://risk.lexisnexis.com/insights-resources/article/credit-invisibles
8
    https://risk.lexisnexis.com/law-enforcement-and-public-safety#gnav=body;learn%20more.




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       43.     Defendants have actual knowledge that its customers use the website and

Defendants’ data for FCRA purposes.

       44.     Fourth, Defendants utilize multiple means of interstate commence to sell their

reports, which are disbursed to prospective employers around the nation. Further, Defendants

obtain their public records from the Executive Secretary of the Supreme Court of Virginia and

the Virginia DMV and then resell this information to other companies.

       45.     Defendants’ attempts to circumvent FCRA governance by way of corporate

organization or feigned legal separation are ineffective, as the statute prohibits the attempted use

of corporate structures, ownership restructuring and comparable legal tricks as a way to avoid

being characterized as a consumer reporting agency. See, e.g., 12 C.F.R. § 1022.140.

       46.     Congress had already contemplated this type gamesmanship as far back as 2003,

when as part of the Fair and Accurate Credit Transactions Act of 2003, Congress made it illegal

to attempt to evade treatment as a consumer reporting agency by means of corporate

reorganization or restructuring, or by manipulating the way in which data is physically stored. 15

U.S.C. § 1681x; 12 C.F.R § 1022.140.

       47.     Here, Defendants’ data is so integrated and put to cross-use, and their operations

so combined that they effectively operate as a single, unified CRA for FCRA purposes.

       48.     Further, with shared resources and control, the Defendants regularly cross-use

data that is originated with a shared source.    That data is maintained in a manner that allows

each other Defendant to access and use same such that the data branded under the control of one

Defendant remains in the “file” of the other Defendant for FCRA purposes.




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                                  Facts as to Plaintiff Brown

         49.   In January 2020, Plaintiff Brown applied to rent an apartment at the Oasis at

Montclair apartment complex in Dumfries, Virginia.

         50.   As part of the application process, Plaintiff Brown was required to undergo a

background check.

         51.   On January 24, 2020, Plaintiff Brown’s landlord ordered his background report

from a consumer-reporting agency called RP On-Site.

         52.   In turn, RP On-Site obtained a consumer report from LN Risk Data and resold it

within its January 24, 2020 report. Within its report to RP On-Site, LN Risk Data reported three

civil “Landlord Tenant Court Records” from Prince George County, Virginia.

         53.   The information about each of these unlawful detainer actions was materially

misleading and inaccurate.

         54.   Each reported record was in fact a dismissed lawsuit with no judgment obtained

against Mr. Brown. Though LN Risk Data reported that record as “Dismissed,” it did so under

the field “Judgment” suggesting that judgment was dismissed rather than the case itself. Further,

the report also included an amount of money in the field “Judgment Amount.”

         55.   The LN Risk Data further inaccurately reported a judgment amount for each of

the three cases, in the amounts of $2,773, $1,392, and $1,428.

         56.   In reality, each of these cases were filed against Plaintiff Brown, but were

dismissed after filing, with no judgment being taken against Plaintiff Brown in any of the three

cases.

         57.   As a result of this inaccurate and materially misleading information, Plaintiff

Brown’s rental application was denied.




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       58.     After receiving the denial, Plaintiff Brown wrote to LexisNexis and requested a

copy of his consumer file.

       59.     In response to his initial request, LexisNexis refused to send Plaintiff Brown a

copy of his file and instead sent him a letter stating:




       60.     When LexisNexis provided Plaintiff Brown his file disclosure, it wholly withheld

and omitted the civil judgments it had earlier in the year reported to RP On-Site.

       61.     The LN Risk Solutions disclosure withheld the civil-judgment records because it

claims to be independent of its sibling, LN Risk Data.

       62.     LN Risk Solutions violated 15 U.S.C. § 1681g(a) by refusing to include in

consumer file disclosures the records of LN Risk Data.

       63.     LN Risk Solutions’ consumer disclosure also did not contain a record of RP On-

Site’s access of his consumer data.

       64.     In addition to these issues, the consumer disclosure revealed several additional

inaccuracies in Plaintiff Brown’s LexisNexis file.

       65.     For example, the file disclosure included two traffic infractions from 2012.

       66.     A large number of traffic infractions are non-criminal, including in Virginia,

where Plaintiff Brown’s infractions occurred. Jordan Blair Woods, Decriminalization, Police

Authority, and Routine Traffic Stops, 62 UCLA L. REV. 672, 698 (2015) (“Since 1970, twenty-

two states have decriminalized the bulk of minor traffic offenses by removing criminal penalties

and reclassifying the offenses as noncriminal offenses. Those states are Alaska (1976), Arizona

(1983), Colorado (1982), Connecticut (1975), Florida (1974), Hawaii (1978/1993), Idaho (1982),

Indiana (1981), Maine (1975), Massachusetts (1986), Michigan (1978), Nebraska (1976), New



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Hampshire (1974), New York (1970), North Carolina (1986), North Dakota (1973), Oregon

(1975), Rhode Island (1975), Vermont (1990), Virginia (1977), Washington (1979), and

Wisconsin (1971). In these states, noncriminal traffic violations are punishable by fine only with

no possibility of immediate incarceration.”);9 See VA. CODE ANN. § 18.2-8 (“Traffic infractions

are violations of public order as defined in § 46.2-100 and not deemed to be criminal in nature.”).

         67.     Because these traffic infractions are not criminal convictions, they cannot be

reported more than seven years after they occur.

         68.     Despite this prohibition, discovery will show that Defendants each reported these

non-criminal, 2012 records despite that they were more than seven years old when reported.

         69.     In addition, the information reported about these traffic violations was inaccurate.

Each infraction contained a “suspension” and “reinstatement” date for Plaintiff Brown’s driver’s

license.

         70.     These dates are inaccurate and misleading because Plaintiff Brown’s license was

never suspended.

         71.     Finally, Plaintiff Brown’s file disclosure contained two entries for civil judgments

against Plaintiff Brown in favor of Tidewater Finance Company.

         72.     This information was inaccurate. Plaintiff Brown only had a single judgment

against him by Tidewater Finance Company, which was satisfied in February 2019.

         73.     In fact, the two reported cases were actually the same case, and the duplicate entry

lacked any remark that the judgment was released.

         74.     Discovery will show this inaccurate information was published to one or more

companies in a report that Defendants sold about Plaintiff Brown.


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    Available at https://www.uclalawreview.org/pdf/62-3-3.pdf.




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                                Facts as to Plaintiff Cantizzano

       75.     In 2020, Plaintiff Cantizzano hoped to take advantage of the historically low

interest rates and applied for a mortgage with Apple Federal Credit Union.

       76.     As part of his mortgage application, Apple Federal Credit Union obtained

Plaintiff Cantizzano’s consumer report from a consumer-reporting agency, Factual Data.

       77.     In total, Factual Data provided three reports in 2020 about Plaintiff Cantizzano,

on March 17, August 3, and August 17.

       78.     Factual Data in turn requested Plaintiff Cantizzano’s consumer report from

Defendant LN Risk Solutions.

       79.     The report that LN Risk Solutions provided to Factual Data regarding Plaintiff

Cantizzano was grossly inaccurate. Specifically, it stated that Plaintiff Cantizzano had an

outstanding civil judgment against him in Prince William County General District Court.

       80.     This information was inaccurate because this civil judgment does not belong to

Plaintiff Cantizzano.

       81.     Instead, the civil judgment belonged to a completely different person, with a

different first name, middle name, date of birth, and Social Security Number, and who lived at an

address where Plaintiff Cantizzano never resided.

       82.     The Defendants lacked reasonable procedures, or any procedures whatsoever, to

ensure that this civil judgment actually belonged to Plaintiff Cantizzano prior to placing the

information on his consumer report.

       83.     Discovery will show that Defendants only reviewed the online docket sheet

summarizing the case and did not review the actual court file to obtain all of the relevant case

information prior to placing the judgment on Plaintiff Cantizzano’s report.




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          84.    Defendants placed the civil judgment on Plaintiff Cantizzano’s consumer report

using very loose matching criteria and placed this highly derogatory information on Plaintiff's

consumer report even though the first name, middle name, address, date of birth and social

security number in the court file did not match Plaintiff Cantizzano’s information.

          85.    As a result of Defendants’ inaccurate consumer reports regarding Plaintiff

Cantizzano, his mortgage application was denied and he suffered other reputational injury.

          86.    As a result of his inability to obtain a mortgage, Mr. Cantizzano disputed the

inaccurate civil judgments through Factual Data, which forwarded them to LexisNexis on his

behalf.

          87.    On September 9, 2020, LN Risk Solutions responded that, “We have verified that

our Lawsuits, Civil Filing, Judgments and Liens Records [sic] are accurate[.]” None are.

                                  Facts as to Plaintiff Hill-Green

          88.    After experiencing numerous inaccuracies in her traditional consumer credit

reports, Plaintiff Hill-Green requested her consumer disclosure from LN Risk Solutions in May

2020.

          89.    LN Risk Solutions responded to her request and provided her with a file

disclosure dated May 22, 2020.

          90.    The disclosure that the LN Risk Solutions sent to Plaintiff Hill-Green contained

inaccurate and misleading information.

          91.    For example, Plaintiff Hill-Green’s disclosure contained two traffic infractions

from Virginia.

          92.    Each infraction contained a “suspension” and “reinstatement” date for Plaintiff

Hill-Green’s driver’s license.




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         93.    These dates are inaccurate and misleading because Plaintiff Hill-Green’s license

was never suspended.

         94.    In addition, one of the traffic infractions was from 2011—more than seven years

prior to the creation of the disclosure.

         95.    As stated above, traffic infractions in Virginia are not allowed to be reported for

more than seven years under FCRA § 1681c because they are not considered criminal

convictions.

         96.    Discovery will show this inaccurate, misleading, and outdated information was

published to one or more companies in a report that the Defendants sold about Plaintiff Hill-

Green.

                                    Facts as to Plaintiff Stewart

         97.    After experiencing issues with the misreporting of public-record information on

her traditional consumer credit reports, Plaintiff Stewart requested a copy of her consumer

disclosure from LN Risk Solutions in July 2020.

         98.    LN Risk Solutions responded to her request and provided her with a file

disclosure dated July 31, 2020.

         99.    The disclosure that LN Risk Solutions sent to Plaintiff Stewart contained

inaccurate and misleading information.

         100.   For example, the disclosure contained two entries for civil judgments against

Plaintiff Stewart in favor of Westlake Services, LLC.

         101.   This information was inaccurate. Plaintiff Stewart only has a single judgment

against her by Westlake Services, LLC.




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        102.     In fact, the two reported cases were actually the same case, and no second case

was ever filed against Plaintiff Stewart by Westlake Services, LLC.

        103.     In addition, Plaintiff Stewart’s disclosure also contained two traffic infractions

from Virginia.

        104.     Each infraction contained a “suspension” and “reinstatement” date for Plaintiff

Stewart’s driver’s license.

        105.     These dates are inaccurate and misleading because Plaintiff Stewart’s license was

never suspended.

        106.     In addition, one of the traffic infractions was from 2011—more than seven years

prior to the creation of the disclosure.

        107.     As stated above, traffic infractions in Virginia are not allowed to be reported for

more than seven years because they are not considered criminal convictions.

        108.     Discovery will show this inaccurate, misleading, and outdated information was

published to one or more companies in a report that the Defendants sold about Plaintiff Stewart.

        109.     Further, Plaintiff’s disclosure contains indecipherable entries in the “inquiries”

section of the disclosure. That portion is designed to inform consumers to whom the Defendants

sold their report.

        110.     Defendants’ disclosures do nothing of the kind, as for Plaintiff Stewart the entries

show inquiries for “Insurance Underwriting” but failing to reasonably and clearly disclose the

recipient of Plaintiff Stewart’s information.

        111.     The disclosure states only “State Farm Mut 1 State Farm Plaza Bloomington IL

61701.”




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            COUNT ONE: VIOLATION OF FAIR CREDIT REPORTING ACT
                         15 U.S.C. § 1681c(a), Class Claim
                        Reporting of Obsolete Information
                     Plaintiffs Brown, Hill-Green, and Stewart

       112.    Plaintiffs Brown, Hill-Green, and Stewart restate each of the allegations in the

preceding paragraphs as if set forth at length herein.

       113.    The 1681c Class. Pursuant to Fed. R. Civ. P. 23, Plaintiffs Brown, Hill-Green,

and Stewart bring this action individually and on behalf of a class of which they are members

and initially defined as:

       All natural persons residing in the United States who (a) were the subject of a
       report furnished by LN Risk Solutions or LN Risk Data to a third party within
       five years before the filing of this action; (b) where that report contained one or
       more traffic infractions from state public records in Virginia, Alaska, Arizona,
       Colorado, Connecticut, Florida, Hawaii, Idaho, Indiana, Maine, Massachusetts,
       Michigan, Nebraska, New Hampshire, New York, North Carolina, North Dakota,
       Oregon, Rhode Island, Vermont, Washington, or Wisconsin, and (c) where the
       traffic infraction predated the report by at least seven years.

       Excluded from the class are all persons who have signed a written release of their
       claim, and/or are counsel in this case, or employed by the Federal Judiciary.

       114.    The Virginia Sub-class. Pursuant to Fed. R. Civ. P. 23, Plaintiffs bring this

action individually and on behalf of a sub-class of which they are each a member and initially

defined as follows:

       All members of the 1681c Class who reside in Virginia and who (a) were the
       subject of a consumer report furnished by LN Risk Solutions or LN Risk Data to a
       third party within five years before the filing of this action; (b) where that report
       contained one or more traffic infractions from state public records in Virginia, and
       (c) where the traffic infraction predated the report by at least seven years.

       Excluded from the class are all persons who have signed a written release of their
       claim, and/or are counsel in this case, or employed by the Federal Judiciary.

       115.    Numerosity. Fed. R. Civ. P 23(a)(1). Plaintiffs estimate that the class and

subclass are so numerous that joinder of all members is impractical. There are millions of traffic




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infractions in states that do not treat them as criminal convictions. The class members’ names

and addresses are identifiable through documents maintained by LN Risk Solutions and the class

members may be notified of the pendency of this action by published and/or mailed notice.

       116.    Predominance of Common Questions of Law and Fact. Fed. R. Civ. P.

23(a)(2). Common questions of law and fact exist as to all putative class members, and there are

no factual or legal issues that differ between the putative class members. These common

questions predominate over the questions affecting only individual class members. The common

questions include: (1) whether LN Risk Solutions and LN Risk Data were required by 15 U.S.C.

§ 1681c(a) to delete the traffic infraction information after 7 years; (2) whether Defendants’

conduct constituted a violation of the FCRA; and (3) whether Defendants’ conduct was willful.

       117.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

each putative class member. Plaintiffs are entitled to relief under the same causes of action as the

other putative class members. Additionally, Plaintiffs’ claims are based on the same facts and

legal theories as each of the class members’ claims.

       118.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

representatives of the putative class because their interests coincide with, and are not antagonistic

to, the interests of the other putative class members. Plaintiffs have retained counsel competent

and experienced in such litigation and intends, with their counsel, to continue to prosecute the

action vigorously. Plaintiffs and their counsel will fairly and adequately protect the class

members’ interests. Neither Plaintiffs nor their counsel have any interest that might conflict with

their vigorous pursuit of this action.

       119.    Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

class members predominate over questions affecting only individual members, and a class action




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is superior to other available methods for fair and efficient adjudication of the controversy. The

damages sought by each class member are such that individual prosecution would prove

burdensome and expensive. It would be virtually impossible for individual class members to

effectively redress the wrongs done to them. Even if the class members could afford individual

litigation, it would be an unnecessary burden on the courts. Furthermore, individualized litigation

presents a potential for inconsistent or contradictory judgments and increases the delay and

expense to all parties and to the court system presented by the legal and factual issues raised by

Defendants’ conduct. By contrast, the class-action device will result in substantial benefits to the

litigants and the Court by allowing the Court to resolve numerous individual claims based upon a

single set of proof in a case.

          120.   As described above, Defendants failed to exclude from reports traffic infraction

records that clearly antedated their reports by more than 7 years.

          121.   Defendants violated § 1681c(a) of the FCRA as to Plaintiffs and each of the class

members by reporting each consumer’s traffic infractions for longer than the seven-year period

permitted by the FCRA.

          122.   Plaintiffs and each putative class member suffered real and actual harm and

injury.

          123.   For example, the rights at issue were determined by Congress to be an important

measure to ensure continued accuracy and completeness in consumer files and reports.

          124.   In each instance, each class member’s credit report contained derogatory

information that Defendants were legally obligated to avoid and remove.




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        125.    Defendants’ conduct was willful, rendering them liable for statutory and punitive

damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, the violation was negligent, rendering Defendants liable under 15 U.S.C. § 1681o.

        126.    As a result of these FCRA violations, LN Risk Solutions and LN Risk Data are

liable for statutory damages from $100.00 to $1,000.00 for Plaintiffs and each class member,

punitive damages, attorney’s fees, and costs pursuant to 15 U.S.C. § 1681n.

            COUNT TWO: VIOLATION OF FAIR CREDIT REPORTING ACT
                        15 U.S.C. § 1681e(b), Class Claim
                              Plaintiff Cantizzano

        127.    Plaintiff Cantizzano restates each of the allegations in the preceding paragraphs as

if set forth at length herein.

        128.    The Inaccuracy Class. Pursuant to Fed. R. Civ. P. 23, Plaintiff Cantizzano brings

this action individually and on behalf of a class initially defined as:

        All natural persons residing in Virginia who (1) were the subject of a report
        furnished by LN Risk Solutions or LN Risk Data to a third party within the five
        years before the filing of this action and the present; (2) where the report
        contained one or more tax liens or civil judgments from the Executive Secretary
        of he Supreme Court of Virginia, a Virginia court or a Virginia court clerk, (3) the
        information in the court records for those liens or judgments do not match two
        personal identifiers: (a) first and last name, (b) the Social Security Number, (c)
        the full date of birth, and (d) the current address of the consumer who is the
        subject of the report; and (4) where the person had not obtained and received a
        consumer disclosure from Defendants containing such judgment or lien record
        prior to the date two years before the filing of this action.

        Excluded from the class are all persons who have signed a written release of their
        claim, and/or are counsel in this case, or employed by the Federal Judiciary.

        129.    Numerosity. Plaintiff Cantizzano alleges that the Inaccuracy Class is so

numerous that joinder of the claims of all class members is impractical. Defendants operate as

one of the largest CRAs in the nation, and in Virginia alone it certainly has sold tens if not

hundreds of thousands of consumer reports during the class period. Given the common nature of




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public-records reporting, the class size will easily exceed hundreds or thousands of consumers.

The names and addresses of the class members are identifiable through documents maintained by

Defendants, and the class members may be notified of the pendency of this action by publication

or mailed notice.

        130.    Existence and Predominance of Common Questions of Law and Fact.

Common questions of law and fact exist as to all putative class members. These questions

predominate over the questions affecting only individual members. These common legal and

factual questions include, among other things: (a) whether Defendants had reasonable procedures

to assure that they accurately attributed public records to the correct consumer; (b) whether this

conduct constituted a violation of the FCRA; and (c) whether the violation was negligent,

reckless, knowing, or intentionally committed in conscious disregard of the rights of the Plaintiff

Cantizzano and putative class members.

        131.    Typicality. Plaintiff Cantizzano’s claims are typical of the claims of each putative

class member and all are based on the same facts and legal theories. Plaintiff, as every putative

class member, alleges a violation of the same FCRA provision, 15 U.S.C. § 1681e(b). This claim

challenges the credit reporting procedures of Defendants does not depend on any individualized

facts. For purposes of class certification, Plaintiff seeks only statutory and punitive damages. The

recovery of class statutory and punitive damages is ideal and appropriate in circumstances like

this one, where injuries are particularized and concrete, but difficult to quantify. In addition,

Plaintiff Cantizzano is entitled to the relief under the same causes of action as the other members

of the class.

        132.    Adequacy. Plaintiff Cantizzano will fairly and adequately protect the interests of

the class. Plaintiff has retained counsel experienced in handling actions involving unlawful




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practices against consumers and class actions. Neither Plaintiff nor his counsel have any interests

that might cause them not to vigorously pursue this action. Plaintiff Cantizzano is aware of his

responsibilities to the putative class and has accepted those responsibilities.

       133.    Certification of the class under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is also appropriate in that:

           a. As alleged above, the questions of law or fact common to the members of the

               class and subclass predominate over any questions affecting an individual

               member. Each of the common facts and legal questions in the case overwhelm the

               more modest individual issues. Given the complex and extensive litigation

               necessitated by Defendants’ conduct, using individual prosecution to obtain the

               statutory and punitive damages sought by each member would prove burdensome

               and expensive. Further, those individual issues that do exist can be effectively

               streamlined and resolved in a manner that minimizes the individual complexities

               and differences in proof in the case.

           b. A class action is superior to other available methods for the fair and efficient

               adjudication of the controversy. Consumer claims generally are ideal for class

               treatment as they involve many, if not most, consumers who are otherwise

               disempowered and unable to afford to bring their claims individually. Further,

               most consumers affected by Defendants’ conduct described above are likely

               unaware of their rights under the law or of whom they could find to represent

               them in federal litigation. Individual litigation of the uniform issues in this case

               would be a waste of judicial resources. The issues at the core of this case are class




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               wide and should be resolved at one time. One win for one consumer would set the

               law for every similarly situated consumer.

       134.    Defendants violated 15 U.S.C. § 1681e(b) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in the preparation of the consumer

reports they furnished regarding Plaintiff Cantizzano and each class member by erroneously

listing one or more tax liens or civil judgments that did not belong to Plaintiff and class

members.

       135.    Defendants’ violations of 15 U.S.C. § 1681e(b) were willful, rendering each

Defendant liable pursuant to 15 U.S.C. § 1681n. In the alternative, Defendants were negligent,

entitling the Plaintiff to recover under 15 U.S.C. § 1681o.

       136.    Plaintiff Cantizzano and each class member are entitled to recover statutory

damages, punitive damages, costs, and attorneys’ fees from each Defendants in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.

           COUNT THREE: VIOLATION OF FAIR CREDIT REPORTING ACT
                         15 U.S.C. § 1681e(b), Class Claim
                           Plaintiffs Brown and Stewart

       137.    Plaintiffs Brown and Stewart restate each of the allegations in the preceding

paragraphs as if set forth at length herein.

       138.    The Failure-To-Update Class. Pursuant to Fed. R. Civ. P. 23, Plaintiffs Brown

and Stewart bring this action individually and on behalf of a class initially defined as:

       All natural persons residing in the United States who (1) were the subject of a
       furnished by LN Risk Solutions and/or LN Risk Data to a third party within five
       years before the filing of this action; (2) where the report contained one or more
       tax liens or civil judgments, and (3) the disposition of those records noted in the
       LN Risk Solutions and/or LN Risk Data report does not match the final
       disposition reflected in the court records at least 30 days before the report.




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       Excluded from the class are all persons who have signed a written release of their
       claim, and/or are counsel in this case, or employed by the Federal Judiciary.

       139.    Numerosity. Plaintiffs Brown and Stewart allege that the Inaccuracy Class is so

numerous that joinder of the claims of all class members is impractical. Defendants operate as

one of the largest CRAs in the nation, and in Virginia alone they certainly has sold tens if not

hundreds of thousands of consumer reports during the class period. Given the common nature of

public-records reporting, the class size will easily exceed hundreds or thousands of consumers.

The names and addresses of the class members are identifiable through documents maintained by

Defendants, and the class members may be notified of the pendency of this action by publication

or mailed notice.

       140.    Existence and Predominance of Common Questions of Law and Fact.

Common questions of law and fact exist as to all putative class members. These questions

predominate over the questions affecting only individual members. These common legal and

factual questions include, among other things: (a) whether Defendants had reasonable procedures

to assure that they accurately updated the dispositions of public records; (b) whether this conduct

constituted a violation of the FCRA; and (c) whether the violation was negligent, reckless,

knowing, or intentionally committed in conscious disregard of the rights of the Plaintiffs and

putative class members.

       141.    Typicality. Plaintiffs Brown and Stewarts’ claims are typical of the claims of

each putative class member and all are based on the same facts and legal theories. Plaintiffs

Brown and Stewart, as every putative class member, allege a violation of the same FCRA

provision, 15 U.S.C. § 1681e(b). This claim challenges the credit reporting procedures of

Defendants and does not depend on any individualized facts. For purposes of class certification,

Plaintiffs seek only statutory and punitive damages. The recovery of class statutory and punitive




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damages is ideal and appropriate in circumstances like this one, where injuries are particularized

and concrete, but difficult to quantify. In addition, Plaintiffs Brown and Stewart are entitled to

the relief under the same causes of action as the other members of the class.

       142.    Adequacy. Plaintiffs Brown and Stewart will fairly and adequately protect the

interests of the class. Plaintiffs Brown and Stewart have retained counsel experienced in handling

actions involving unlawful practices against consumers and class actions. Neither Plaintiffs nor

their counsel have any interests that might cause them not to vigorously pursue this action.

Plaintiffs Brown and Stewart are aware of their responsibilities to the putative class and have

accepted those responsibilities.

       143.    Certification of the class under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is also appropriate in that:

           a. As alleged above, the questions of law or fact common to the members of the

               class and subclass predominate over any questions affecting an individual

               member. Each of the common facts and legal questions in the case overwhelm the

               more modest individual issues. Given the complex and extensive litigation

               necessitated by Defendants’ conduct, using individual prosecution to obtain the

               statutory and punitive damages sought by each member would prove burdensome

               and expensive. Further, those individual issues that do exist can be effectively

               streamlined and resolved in a manner that minimizes the individual complexities

               and differences in proof in the case.

           b. A class action is superior to other available methods for the fair and efficient

               adjudication of the controversy. Consumer claims generally are ideal for class

               treatment as they involve many, if not most, consumers who are otherwise




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                disempowered and unable to afford to bring their claims individually. Further,

                most consumers affected by Defendants’ conduct described above are likely

                unaware of their rights under the law or of whom they could find to represent

                them in federal litigation. Individual litigation of the uniform issues in this case

                would be a waste of judicial resources. The issues at the core of this case are class

                wide and should be resolved at one time. One win for one consumer would set the

                law for every similarly situated consumer.

        144.    Defendants each violated 15 U.S.C. § 1681e(b) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in the preparation of the consumer

reports they furnished regarding Plaintiffs Brown and Stewart and each class member by failing

to update the final dispositions of records it attributed to Plaintiffs and class members.

        145.    Defendants’ violations of 15 U.S.C. § 1681e(b) were willful, rendering each

Defendant liable pursuant to 15 U.S.C. § 1681n. In the alternative, Defendants were negligent,

entitling the Plaintiffs to recover under 15 U.S.C. § 1681o.

        146.    Plaintiffs Brown and Stewart and each class member are entitled to recover

statutory damages, punitive damages, costs, and attorneys’ fees from LN Risk Solutions in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

           COUNT FOUR: VIOLATION OF FAIR CREDIT REPORTING ACT
                         15 U.S.C. § 1681g(a), Class Claim
                   Failure to Provide a Full Consumer Disclosure
                                  Plaintiff Brown

        147.    Plaintiff Brown restates each of the allegations in the preceding paragraphs as if

set forth at length herein.

        148.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff Brown

brings this action for himself and on behalf of a class (the “File Disclosure Class”) defined as:




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       All natural persons residing in the United States (a) who requested a file
       disclosure from LN Risk Solutions and/or LN Risk Data; (b) in the five years
       predating the filing of this Complaint; (c) where Defendant LN Risk Data and/or
       LN Risk Data had previously furnished a consumer report that included tradeline
       or public-record information to a third party within the two years preceding the
       file disclosure request, (d) and for whom LN Risk Solutions and/or LN Risk Data
       did not include the data LN Risk Data and/or LN Risk Data furnished in a file
       disclosure it returned to that consumer.

       Excluded from the class are all persons who have signed a written release of their
       claim, and/or are counsel in this case, or employed by the Federal Judiciary.

       149.    Numerosity. Fed. R. Civ. P 23(a)(1). Plaintiff Brown estimates that the class is

so numerous that joinder of all members is impractical. The class members’ names and addresses

are identifiable through documents maintained by Defendants and the class members may be

notified of the pendency of this action by published and/or mailed notice.

       150.    Predominance of Common Questions of Law and Fact. Fed. R. Civ. P.

23(a)(2). Common questions of law and fact exist as to all putative class members, and there are

no factual or legal issues that differ between the putative class members. These common

questions predominate over the questions affecting only individual class members. The common

questions include: (1) whether LN Risk Solutions was required by 15 U.S.C. § 1681g(a) to

provide to consumers all of the information that LN Risk Data reported about them in response

for a copy of their full file; (2) whether Defendants’ conduct constituted a violation of the FCRA;

and (3) whether Defendants’ conduct was willful.

       151.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff Brown’s claims are typical of the

claims of each putative class member. Plaintiff Brown is entitled to relief under the same causes

of action as the other putative class members. Additionally, Plaintiff Brown’s claims are based

on the same facts and legal theories as each of the class members’ claims.




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        152.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiff Brown is an

adequate representative of the putative class because his interests coincide with, and are not

antagonistic to, the interests of the other putative class members. Plaintiff Brown has retained

counsel competent and experienced in such litigation and intends, with his counsel, to continue

to prosecute the action vigorously. Plaintiff Brown and his counsel will fairly and adequately

protect the class members’ interests. Neither Plaintiff Brown nor his counsel have any interest

that might conflict with his vigorous pursuit of this action.

        153.    Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

class members predominate over questions affecting only individual members, and a class action

is superior to other available methods for fair and efficient adjudication of the controversy. The

damages sought by each class member are such that individual prosecution would prove

burdensome and expensive. It would be virtually impossible for individual class members to

effectively redress the wrongs done to them. Even if the class members could afford individual

litigation, it would be an unnecessary burden on the courts. Furthermore, individualized litigation

presents a potential for inconsistent or contradictory judgments and increases the delay and

expense to all parties and to the court system presented by the legal and factual issues raised by

Defendants’ conduct. By contrast, the class-action device will result in substantial benefits to the

litigants and the Court by allowing the Court to resolve numerous individual claims based upon a

single set of proof in a case.

        154.    As described above, LN Risk Solutions failed to provide Plaintiff Brown and the

File Disclosure Class all of the information in its files that LN Risk Data had provided when

Plaintiff Brown requested a copy of the class member’s full file.




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        155.    Defendants violated § 1681g(a) of the FCRA as to the Plaintiff Brown and each of

the class members by failing to provide them with all of the information that it received from the

national credit reporting agencies in response to the consumer’s request for his or her full file.

        156.    Plaintiff Brown and each putative class member suffered real and actual harm and

injury. The rights at issue were determined by Congress to be important measures to ensure

continued accuracy and completeness in Defendants’ files and reports. In each instance, each

class member was deprived of information that Congress has determined they were legally

entitled to receive.

        157.    Defendants’ conduct was willful, rendering it liable for statutory and punitive

damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, the violation was negligent, rendering Defendants liable under 15 U.S.C. § 1681o.

        158.    As a result of these FCRA violations, Defendants are liable for statutory damages

for Plaintiff Brown and each class member, punitive damages, attorney’s fees, and costs pursuant

to 15 U.S.C. § 1681n.


            COUNT FIVE: VIOLATION OF FAIR CREDIT REPORTING ACT
                         15 U.S.C. § 1681i, Individual Claim
                      Failure to Reasonably Investigate Dispute
                                 Plaintiff Cantizzano

        159.    Plaintiff Cantizzano restates each of the allegations in the preceding paragraphs as

if set forth at length herein.

        160.    LN Risk Solutions reported inaccurate information to Plaintiff Cantizzaro’s

potential landlord, and those inaccuracies caused the landlord to deny Plaintiff Cantizzaro

housing.




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       161.    As is his right, Plaintiff Cantizzano disputed the inaccuracies with LN Risk

Solutions, which was then obligated to conduct a “searching inquiry” into the accuracy of the

information it reported.

       162.    Had LN Risk Solutions conducted such an investigation into Plaintiff

Cantizzano’s dispute, it would have learned that the public records it attributed to him belonged

to a different individual with a differently spelled first name, a different middle name, a different

date of birth, different Social Security Number, and different address than Plaintiff Cantizzano.

       163.    Instead, LN Risk Solutions’ cursory, illegal investigation incorrectly confirmed

that its inaccurate records were properly attributed to Plaintiff Cantizzano.

       164.    This failure by LN Risk Solutions thwarts Plaintiff Canitzzano’s statutory right to

correct information that is inaccurately reported.

       165.    LN Risk Solutions’ violation of 15 U.S.C. § 1681i(a) was willful, rendering it

liable pursuant to 15 U.S.C. § 1681n. In the alternative, the LN Risk Solutions was negligent,

entitling the Plaintiff to recover under 15 U.S.C. § 1681o.

       166.    Plaintiff Cantizzano is entitled to recover actual, statutory, and punitive damages,

as well as costs and attorneys’ fees from the LN Risk Solutions in an amount to be determined by

the Court pursuant to 15 U.S.C. § 1681n.

       WHEREFORE, Plaintiffs ask for judgment against the Defendants, for class certification

as pleaded, for statutory and punitive damages for themselves and each member of the Classes

described above, for actual, and punitive damages for their individual claims; for equitable and

injunctive relief; and for attorneys’ fees and costs and such other specific or general relief the

Court does find just and appropriate.

       TRIAL BY JURY IS DEMANDED.




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                                         Respectfully submitted,

                                         PLAINTIFFS,


                                         By:     /s/
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